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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA, for the use
and benefit of SEEDORFF MASONRY, INC.,                CASE NO. __________________

                               Plaintiff,
                                                      PLAINTIFF’S COMPLAINT & JURY
v.                                                    DEMAND

ARCHER WESTERN CONSTRUCTION,
LLC and TRAVELERS CASUALTY AND
SURETY COMPANY OF AMERICA,

                               Defendants.


       Plaintiff United States of America for the use and benefit of Seedorff Masonry, Inc.

(hereinafter “Seedorff”) for its Complaint, states as follows:

                                   THE PARTIES & VENUE

       1.      Seedorff is a corporation organized and existing under the laws of the State of

Iowa, with its principal office and place of business located at 408 W. Mission Street, Strawberry

Point, Clayton County, Iowa.

       2.      Seedorff is in the business of providing masonry products, materials, and services

for construction projects throughout the United States.

       3.      Defendant Archer Western Construction, LLC (hereinafter “Archer”) is a

corporation organized and existing under the laws of the State of Illinois, with its principal place

of business located at 929 West Adams Street, Chicago, Illinois.

       4.      Defendant Travelers Casualty and Surety Company of America (hereinafter

“Travelers”) is a corporation organized and existing under the laws of the State of Minnesota,




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with its principal executive offices located at 485 Lexington Avenue, New York, New York.

Defendant Travelers is duly authorized to engage in the business of executing surety bonds.

       5.      This cause of action arises, and the Court has jurisdiction, pursuant to the Miller

Act, 40 U.S.C.A. §§ 3131 to 3134.

       6.      Venue is proper in this district because the principal contract described below in

paragraph 8, between Defendant Archer and the United States of America, acting by and through

the Department of Veterans Affairs, was to be performed and executed in the District of

Nebraska.

                           COUNT I - MILLER ACT VIOLATION

       7.      Seedorff incorporates and repleads paragraphs 1 – 6 herein.

       8.      On or about September 3, 2014, Defendant Archer entered into a contract, herein

referred to as the principal contract, in writing with the United States of America, acting by and

through the Department of Veterans Affairs, to furnish the materials and perform the labor for

the construction of the new National Cemetery (hereinafter “VA Cemetery”) in accordance with

the specifications contained in the principal contract, for a consideration of $20,000,000 to

$50,000,000. The principal contract was designated Department of Veterans Affairs – VA

Omaha Cemetery, Contract No. VA101F-14-C-0038.

       8.      On or about October 8, 2014, pursuant to the terms of the contract, Defendant

Archer, as principal, and Defendant Travelers, as surety, executed and delivered to the United

States their bond conditioned as required by the Miller Act, for the protection of all persons

supplying labor and materials in the prosecution of the work provided for in the principal

contract.




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        10.    On or about September 11, 2015, Seedorff entered into a Subcontract Defendant

Archer, by the terms of which Seedorff agreed to furnish all labor, materials, and equipment

necessary to install all masonry required for the construction of the VA Cemetery under the

principal contract between Defendant Archer and the United States of America. A copy of this

subcontract is attached hereto as Exhibit 1, and is incorporated herein by reference.

        11.    Seedorff performed its duties under the contract with Defendant Archer,

providing labor, materials, and equipment as prescribed in the subcontract. The reasonable value

of such materials is $3,163,947.00. Defendant Archer has paid $1,908,037.00 towards these

services, leaving an unpaid balance of $1,255,910.00.

        12.    Upon information and belief, Defendant Archer has charged the United States of

America for Seedorff’s services in the amount of $3,321,000.00 and has received payment in

full.

        13.    Notwithstanding Seedorff’s demands on Defendant Archer for payment, such

balance has not been paid in full and there is now justly due and owing to Seedorff the sum of

$1,255,910, that amount being the remaining and reasonable value of the goods, services, and

materials provided.

        14.    Defendant Archer breached its contract with Seedorff in that it failed and refused

to pay Seedorff the remaining moneys owed for the value of the labor, services, and materials

provided.

        15.    The date on which the last equipment was supplied to Defendant Archer was

October 23-24, 2017. A period of more than 90 days has elapsed since such date, and Seedorff

has not been paid in full for the equipment furnished for prosecution of the principal contract.




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        16.     All conditions precedent for the bringing and maintenance of this action have

been performed or have occurred.

        WHEREFORE, Plaintiff United States of America for the use and benefit of Seedorff

Masonry, Inc. respectfully requests judgment against Defendants in the amount of $1,255,910,

plus interest, attorneys’ fees, and the costs of this action, and for such other and further relief as

the Court deems just and equitable.

                             COUNT II – UNJUST ENRICHMENT

        17.     Seedorff incorporates and repleads paragraphs 1 – 16 herein.

        18.     Defendant Archer has enjoyed the value and benefit of the materials, goods, and

services provided by Seedorff.

        19.     The materials, goods, and services were provided by Seedorff pursuant to the

contract between it and Defendant Archer and were accepted by Defendant Archer with the full

knowledge and consent, and without objection.

        20.     Seedorff has performed each and every obligation imposed on it under the

contract with Defendant Archer.

        21.     Upon information and belief, Defendant Archer has been compensated for the

value of the materials, goods, and services provided.

        22.     Defendant Archer will be unjustly enriched unless it is ordered to pay Seedorff

the value of the materials, goods, and services ordered by, provided to, and accepted by

Defendant Archer.

        23.     The reasonable and value of such materials is $3,163,947. Defendant Archer has

paid $1,908,037 towards these services, leaving an unpaid balance of $1,255,910.




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       WHEREFORE, Plaintiff United States of America for the use and benefit of Seedorff

Masonry, Inc. respectfully requests judgment against Defendants for the reasonable value of the

materials, goods, and services provided, plus interest, attorneys’ fees, and the costs of this action,

and for such other and further relief as the Court deems just and equitable.

                         COUNT III – BREACH OF NEBRASKA’S
                        CONSTRUCTION PROMPT PAYMENT ACT

       24.     Seedorff incorporates and repleads paragraphs 1 – 23 herein.

       25.     The work to be performed pursuant to the principal contract was located in and

around Omaha, Nebraska.

       26.     Pursuant to the subcontract agreement between Seedorff and Defendant Archer,

the law of the state in which the project was located was the governing law. See Exhibit 1,

Article 11, paragraph 11.1.

       27.     Nebraska requires subcontractors such as Seedorff to be paid within ten days of

the contractor receiving final or periodic payments. Neb. Rev. Stat. § 45-1203 (2018).

       28.     The date on which the last equipment was supplied to Defendant Archer was

October 23–24, 2017.

       29.     Upon information and belief, Defendant Archer received final payment from the

United States of America for Seedorff’s services in August 2017. More than 10 days have

elapsed since this payment date.

       30.     Due to Defendant Archer’s continued failure to make a full and final payment on

the subcontract, Seedorff is entitled to interest as set forth in Nebraska Code § 45-1205. Neb.

Rev. Stat. § 45-1205 (2018).

       31.     Furthermore, Seedorff seeks attorneys’ fees and the costs of this action as

permitted by Nebraska Code § 45-1211. Neb. Rev. Stat. § 45-1205 (2018).

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       WHEREFORE, the United States of America, for the use and benefit of Seedorff

Masonry, Inc., respectfully requests judgment against Defendants Archer Western Construction,

LLC and Travelers Casualty and Surety Company of America, and all of them, jointly and

separately for the sum of $1,255,910, together with interest at the legal rate on such amount

awarded as allowed by law, for the costs of this action, and for such other and further relief as

the Court deems just and proper.

                                        JURY DEMAND

       Plaintiff United States of America for the use and benefit of Seedorff Masonry, Inc.

hereby demands a trial by jury on all issues so triable. Trial is requested to be held in Omaha,

Nebraska.



                                                      s/Mark P.A. Hudson
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                                                              for
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